900 F.2d 258Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Clyde YOUNG, Petitioner-Appellant,v.Edward W. MURRAY;  Mary Sue Terry, Attorney General ofVirginia, Respondents-Appellees.
    No. 89-6795.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Jan. 10, 1990.Decided:  March 29, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  David G. Lowe, United States Magistrate.  (C/A No. 89-137-R)
      Clyde Young, appellant pro se.
      Richard Bain Smith, Office of the Attorney General of Virginia, Richmond, Va., for appellees.
      E.D.Va.
      DISMISSED.
      Before SPROUSE, CHAPMAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Clyde Young seeks to appeal the magistrate's* order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the magistrate's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the magistrate's court.  Young v. Murray, CA-89-137-R (E.D.Va. Aug. 11, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         This matter was transferred by consent to the magistrate pursuant to 28 U.S.C. Sec. 636(c)
      
    
    